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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )           8:04CR164
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )           MEMORANDUM
                                             )           AND ORDER
JAIME NESSBAUMER,                            )
                                             )
                     Defendant.              )

      This matter comes on to consider the government’s oral request for hearing on Rule
35(b) motion. Having considered the matter,

       IT IS ORDERED that:

       (1)    The government’s oral request for hearing is granted;

       (2)    A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 309) has been set before the undersigned United States district judge at
2:45 p.m., on Friday, December 2, 2005, in the Special Proceedings Courtroom, Roman L.
Hruska United States Courthouse, Omaha, Nebraska;

       (3)  At the request of the defendant through his counsel, and with the agreement of
the government, the defendant may be absent from the hearing on the Rule 35 motion;

       (4)    The Marshal is directed not to return the defendant to the district; and

       (5)    The defendant is held to have waived his right to be present.

       November 16, 2005.                        BY THE COURT:

                                                 s/ Richard G. Kopf
                                                 United States District Judge
